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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

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ALAN R. SMITH, ESQ.

Nevada Bar No. 1449

HOLLY E. ESTES, ESQ.

Nevada Bar No. 11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 August 18, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors/Defendants
ANTHONY THOMAS and WENDI

THOMAS
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo00o00—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]
AT EMERALD, LLC,

Debtors,

 

Adv. Pro. No. 14-05022
KENMARK VENTURES, LLC,

Plaintiff, EX PARTE MOTION FOR ORDER
SHORTENING TIME FOR NOTICE
vs. AND HEARING ON MOTION TO
WITHDRAW AS ATTORNEY OF
ANTHONY THOMAS and WENDI RECORD
THOMAS,

Defendants. Hearing Date: OST Pending
/ Hearing Time: OST Pending

 

Movant, Alan R. Smith, Esq., of the Law Offices of Alan R. Smith, hereby moves this
Court for an order shortening time for notice and hearing on his Motion To Withdraw As
Attorney Of Record (the “Motion”) filed on August 18, 2014, a copy of which is attached
hereto as Exhibit “A.”

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Pursuant to the Motion, the Movant seeks an order authorizing immediate withdrawal
as attorney of record for the Debtors ANTHONY THOMAS, WENDI THOMAS and AT
EMERALD, LLC. In the case, Debtors have failed substantially to fulfill various obligations to
the Law Offices of Alan R. Smith as specified in the agreement between those parties.
Specifically, Debtors have refused to communicate timely and effectively with the Law Offices of
Alan R. Smith. Further, the Law Offices of Alan R. Smith and the Debtors have come to an
impasse regarding certain aspects of law office’s representation that law office believes cannot be
overcome. Alan Smith believes that because of the difference of opinion as how best to proceed
in this case, he can no longer effectively represent the Debtors. As a result an adversarial
relationship has developed, and Alan Smith has sought immediate withdrawal. Alan Smith
requests that the Motion to Withdrawal be heard on the same date and time as the currently
scheduled hearing on the motion to appoint the chapter 11 trustee - August 22, 2014 at 2 p.m.
Ordinary notice requirements cannot be met without an order shortening time for a hearing
to approve Movant’s Motion.

Local Rule 9006 provides that the Court may shorten time in appropriate
circumstances for good cause. Based upon the foregoing, Movant believes that good cause
exists for shortening time for notice and hearing of the Motion. The Movant (or his
designated employee) has contacted the principal parties affected by the subject Motion and
their agreement and comments are in the ATTORNEY INFORMATION SHEET filed
separately.

WHEREFORE, Movant respectfully requests that the Court shorten the time for
notice of hearing on the Motion, and that the hearing on said Motion be set on August 22,
2014, at 2 p.m., or as soon as possible and as is convenient to the Court’s calendar.

Dated this 18" day of August, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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1 CERTIFICATE OF MAILING
2 Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
3 || R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and
4 ll correct copy of the attached document addressed as follows:
5 AT Emerald, LLC
c/o Anthony & Wendi Thomas
6 7725 Peavine Peak Court
Reno, NV 89523
7 atemerald2@gmail.com
wendithomas6@gmail.com
8
Timothy A. Lukas, Esq.
9 Holland & Hart, LLP
5441 Kietzke Lane, 2" Floor
10 Reno, NV 89511
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11
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12 Darby Law Practice, Ltd.
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13 Reno, NV 89519
4 kevin@darbylawpractice.com
]
Stefanie T. Sharp, Esq.
15 Robison, Balaustegui, Sharp & Low
71 Washington Street
16 Reno, NV 89503
ssharp@rbsllaw.com
17
Wayne A. Silver, Esq.
18 333 W. El Camino Real, Ste. 310
Sunnyvale, CA 94087
19 w_silver@sbcglobal.net
20 Amy N. Tirre, Esq.
Law Offices of Amy N. Tirre, APC
21 3715 Lakeside Dr., Ste. A
Reno, NV 89509
22 amy @amyttirrelaw.com
23 Joseph G. Went, Esq.
Holland & Hart, LLP
24 9555 Hillwood Drive, 2"! Floor
Las Vegas, NV 89134
25 igwent@hollandhart.com
/s/ Debra L. Goss
26 |} Dated: August 18, 2014 By:
Debra L. Goss, Employee
27
28
Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501 . 3 .
(775) 786-4579 H:\Thomas\Mot WD\MOST Mot WD 081814-dig.wpd

 

 
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Exhibit “A’
Case 14-50333-gs Doc170 Entered 08/18/14 17:15:15 Page5of8

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ALAN R. SMITH, ESQ.
Nevada Bar No. 1449

 

 

2 || HOLLY E. ESTES, ESQ.
Nevada Bar No. 11797
3 | Law Offices of Alan R. Smith
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4 ll Reno, Nevada 89501 August 18, 2014
Telephone (775) 786-4579
5 |] Facsimile (775) 786-3066
‘ Email: mail@asmithlaw.com
Attorney for Debtors/Defendants
7 | ANTHONY THOMAS and WENDI
THOMAS
8
9 UNITED STATES BANKRUPTCY COURT
10 DISTRICT OF NEVADA
11 —oo00o00—
12 || In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
13 || ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases
14
[Jointly Administered]
15 | AT EMERALD, LLC,
16
17
Debtors,
18 /
Adv. Pro. No. 14-05022
19 | KENMARK VENTURES, LLC,
20 Plaintiff, MOTION TO WITHDRAW AS
ATTORNEY OF RECORD
21 | vs.
22 | ANTHONY THOMAS and WENDI Hearing Date: OST Pending
THOMAS, Hearing Time: OST Pending
23
Defendants.
24 /
25 ALANR. SMITH, ESQ., of the Law Offices of Alan R Smith (hereinafter “Movant’),
26 || moves this Court to allow him to withdraw as attorney of record for Debtors ANTHONY
27 || THOMAS and WENDI THOMAS and Debtor AT EMERALD, LLC, (hereinafter “Debtors”),
28 || in the above-entitled matter pursuant to Rule 166 of the Supreme Court Rules of the State of Nevada

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Law Offices of
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(775) 786-4579

 

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and Nevada Rules of Professional Conduct 1.16. This Motion is made and based upon the following
Points and Authorities, and the pleadings and papers on file in this case.
POINTS AND AUTHORITIES

Supreme Court Rule of Professional Conduct 1.16, made applicable by Local Rule IA 10-
6(b) and (e), provides that:

No attorney may withdraw after appearing in a case except by
leave of Court after notice has been served on the affected client and
opposing counsel.

Movant has appeared on behalf of the Debtors in the above captioned matter and therefore
brings this Motion for leave to withdraw as their counsel of record. Movant’s withdrawal is not
expected to cause any delay in these proceedings.

Nevada Supreme Court Rule 1.16, made applicable by Local Rule 1A 10-6, provides as

follows:

(b) Except as stated in paragraph (c), a lawyer may withdraw
from representing a client if:

(1) withdrawal can be accomplished without material adverse effect on
the interests of the client;

(6) The representation will result in an unreasonable financial burden on
the lawyer or has been rendered unreasonably difficult by the client;
or

(7) Other good cause for withdrawal exists.

In the case, Debtors have failed substantially to fulfill various obligations to Movant as
specified in the agreement between those parties. Specifically, Debtors have refused to communicate
timely and effectively with Movant. Further, Movant and the Debtors have come to an impasse
regarding certain aspects of Movant’s representation that Movant believes cannot be overcome.
Movant believes that because of the difference of opinion as how best to proceed in this case, he can
no longer effectively represent the Debtors. As a result an adversarial relationship has developed,
and Movant has sought this withdrawal.

Movant believes that his withdrawal as counsel for Debtors will not adversely affect Debtors.

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Movant has provided reasonable written warning to Debtors of his intention to withdraw because
of their failure to communicate and the disagreements between the parties. Asa result, there is good
cause for Movant’s withdrawal as counsel of record.

WHEREFORE, it is respectfully requested that this Court enter its order permitting the
immediate withdrawal of The Law Offices of Alan R. Smith, as attornies of record for the Debtors,
and that all further pleadings and correspondence with regard to this matter be forwarded to Debtors
at their last known address as follows:

AT Emerald, LLC

c/o Anthony & Wendi Thomas

7725 Peavine Peak Court

Reno, NV 89523

Anthony & Wendi Thomas

7725 Peavine Peak Court
Reno, NV 89523

DATED this 18" day of August, 2014.
LAW OFFICES OF ALAN R. SMITH

/s/ Alan R. Smith
By

 

ALAN R. SMITH, ESQ.
Attorney for Debtor

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CERTIFICATE OF MAILING
Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and

correct copy of the attached document addressed as follows:

AT Emerald, LLC

c/o Anthony & Wendi Thomas
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wendithomas6(@gmail.com

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Las Vegas, NV 89134
jgwent@hollandhart.com
/s/ Debra L. Goss
Dated: August 18, 2014 By:

 

Debra L. Goss, Employee

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